JEAN E. WILLIAMS
Deputy Assistant Attorney General
Environment and Natural Resources Division
United States Department of Justice

Erika Norman, CA Bar # 268425
Trial Attorney
Natural Resources Section
4 Constitution Square
150 M Street, NE, Suite 2.900
Washington, DC 20004
Phone: (202) 305-0475
Fax: (202) 305-0506
Erika.Norman@usdoj.gov

Attorneys for all Defendants

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

SOUTHEAST ALASKA CONSERVATION         )
COUNCIL, et al.,                      )
    Plaintiffs,                       ) Case No. 1:19-cv-00006-SLG
                                      )
    v.                                )
UNITED STATES FOREST SERVICE, et al., )
                                      )
    Defendants                        )
                                      )
                                      )

 DEFENDANTS’ RESPONSE TO PLAINTIFFS’ NOTICE OF SUPPLEMENTAL
                         AUTHORITY




        Case 1:19-cv-00006-SLG Document 32 Filed 12/30/19 Page 1 of 4
       On September 23, 2019, the Ninth Circuit issued a decision in Protect Our

Communities Foundation v. Lacounte, upholding the Bureau of Indian Affairs’ (“BIA’s”)

decision to lease tribal land for an industrial-scale wind facility. 939 F.3d 1029 (9th Cir.

2019). Three months later, Plaintiffs filed a notice of supplemental authority pursuant to

Local Rule 7.1(d)(1) to purportedly bring the Court’s attention to this “pertinent and

significant decision.” Pls.’ Notice at 2. Putting aside Plaintiffs’ failure to “promptly” file

their notice as directed by the local rule, the Ninth Circuit’s decision in Protect Our

Communities supports a grant of summary judgment in favor of the government, not

Plaintiffs.

       The Prince of Wales Landscape Level Analysis environmental impact statement

(“EIS”) at issue in this case, like the EIS that was upheld in Protect Our Communities, is

a site-specific, project-level EIS. See Defs.’ Principal Br. in Opp’n to Summ. J. (“Defs.’

Br.”) at 16-24, ECF No. 12. Plaintiffs attempt to capitalize on the Protect Our

Community opinion’s language distinguishing program- from project-level EIS analyses.

But the discussion of programmatic EISs reflected in Plaintiffs’ notice has limited

relevance to this case, which centers on whether the Forest Service’s project-level Prince

of Wales Landscape Level Analysis EIS was site-specific enough to identify

environmental effects.

       To the extent the case is relevant, the Ninth Circuit’s decision to uphold the EIS in

Protect Our Communities and allow the BIA lease to move forward without further

NEPA analysis supports granting summary judgment in favor of the government. As in

Protect Our Communities, the final Prince of Wales Landscape Level Analysis EIS was

SEACC, et al. v. U.S. Forest Service, et al.,                                                  1
1:19-cv-00006-SLG
          Case 1:19-cv-00006-SLG Document 32 Filed 12/30/19 Page 2 of 4
comprehensive and site-specific enough to identify likely effects on the environment.

See Defs.’ Br. at 16-27. And consistent with Protect Our Communities, the fact that the

Forest Service anticipated further confirmatory analysis does not render its EIS

inadequate. See Defs.’ Br. at 22.

Dated: December 30, 2019


                                                 JEAN E. WILLIAMS
                                                 Deputy Assistant Attorney General
                                                 U.S. Department of Justice

                                                 /s/ Erika Norman    _____________
                                                 ERIKA NORMAN
                                                 Trial Attorney
                                                 Natural Resources Section
                                                 4 Constitution Square
                                                 150 M Street, NE, Suite 2.900
                                                 Washington, DC 20004
                                                 Phone: (202) 305-0475
                                                 Fax: (202) 305-0506
                                                 erika.norman@usdoj.gov

                                                 Counsel for Federal Defendants




SEACC, et al. v. U.S. Forest Service, et al.,                                             2
1:19-cv-00006-SLG
         Case 1:19-cv-00006-SLG Document 32 Filed 12/30/19 Page 3 of 4
             CERTIFICATE OF COMPLIANCE WITH WORD LIMIT

       I certify that this brief contains 307 words, excluding items exempted by Local

Civil Rule 7.4(a)(4), and complies with the 350-word limit in Local Civil Rule 7.1(d)(1).



Respectfully submitted this 30th day of December, 2019.



                                                       /s/ Erika Norman
                                                       Erika Norman




SEACC, et al. v. U.S. Forest Service, et al.,                                               3
1:19-cv-00006-SLG
         Case 1:19-cv-00006-SLG Document 32 Filed 12/30/19 Page 4 of 4
